                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         Civil Action No.: 7:23-cv-01625-M-RJ

BRIANA PAULL, INDIVIDUALLY;
BRIANA PAULL, as guardian of
A.P, A.P., R.K. Jr.,
and A.F., her minor children;
and BRIANA PAULL, as class representative
on behalf of the class defined herein,          AMENDED NOTICE OF APPEARANCE
                                                     OF DAVID L. BROWN
                         Plaintiffs,

vs.

THE TOWN OF HOLLY RIDGE; et al.

                         Defendants


       PLEASE TAKE NOTICE that David L. Brown of Goldberg Segalla LLP, an attorney

admitted and authorized to practice in this Court, does hereby give Notice of Appearance as

counsel of record for Defendants The Pendergraph Companies, LLC, Pendergraph Development,

LLC and Frankie W. Pendergraph.

       This the 18th day of January, 2024.


                                                 /s/ David L. Brown
                                                 David L. Brown
                                                 N.C. State Bar Number 18942
                                                 GOLDBERG SEGALLA LLP
                                                 701 Green Valley Road, Suite 310
                                                 Greensboro, North Carolina 27408
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                                                 Attorney for the Pendergraph Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this date, a copy of the foregoing was filed electronically with

the Clerk of Court using the Court’s CM/ECF system. Notice of this filing will be sent by

operation of the Court’s CM/ECF system to counsel of record.

       This the 18th day of January, 2024.


                                                   /s/ David L. Brown
                                                   David L. Brown
                                                   N. C. State Bar #: 18942
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                                                   Attorney for the Pendergraph Defendants




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